
      1
     In Re People in the interest of J.D. No. 24SA193Supreme Court of ColoradoJuly 22, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      ORIGINAL PROCEEDING
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Show
      Cause order issued on July 8, 2024
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;RULE
      CHANGE 2024(12)
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;COLORADO
      RULES OF CIVIL PROCEDURE Rule 84
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Amended
      and Adopted by the Court, En Banc, June 28, 2024, effective
      immediately.
    